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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                           Case No. 19-20822-CR-WILLIAMS/TORRES(s)

  UNITED STATES OF AMERICA

  v.

  JESUS MANUEL MENOCAL, JR.
  _______________________________/

           GOVERNMENT’S RESPONSE TO DEFENDANT’S OPPOSITION TO
           GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE EVIDENCE
            PURSUANT TO FEDERAL RULES OF EVIDENCE 413 AND 404(b)

          The United States hereby responds to the defendant’s Opposition to Government’s Notice

  of Intent to Introduce Evidence Pursuant to Federal Rules of Evidence 413 and 404(b) and Motion

  for Evidentiary Hearing (DE: 40) (“Opposition”). As explained below, it is the government’s

  position that all of the evidence detailed in its Notice of Intent to Introduce Evidence Pursuant to

  Federal Rules of Evidence 413 and 404(b) (DE: 37) (“Notice”) is admissible and the evidentiary

  hearing requested by the defendant is neither required by the law nor necessary under the facts and

  circumstances of this case. Moreover, the government hereby readopts and reincorporates its

  Notice in full as part of this response.

                            PROCEDURAL AND FACTUAL BACKGROUND

          On December 12, 2019, a federal grand jury returned an Indictment (DE: 3) charging the

  defendant with two counts of willfully depriving victims of the right to be free from unreasonable

  searches and seizures by a person acting under color of law, in violation of 18 U.S.C. § 242.

  Count 1 charges that on or about June 13, 2015, the defendant, for his own sexual gratification,

  directed Victim 1 to remove her shorts and underwear and turn around. Count 2 charges that

  during an incident that occurred between January 1, 2015 and March 31, 2015, the defendant

  exposed his bare penis to Victim 2, placed her hand on it, and kissed her.
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         On May 27, 2020, the government filed a Superseding Information (DE: 25), charging the

  defendant with violating 18 U.S.C. § 242 by willfully depriving Victim 3 of that same right to be

  free from unreasonable searches and seizures by a person acting under color of law, during an

  incident that occurred on May 31, 2015. In that incident, the defendant is charged with causing

  Victim 3’s mouth to have contact with his penis.

         As the Indictment and Superseding Information allege, the defendant was a police officer

  who criminally abused his power and position to obtain sexual gratification from a number of

  young women in violation of their Fourth Amendment right to be free from unreasonable searches

  and seizures. At the time of the charged conduct, the defendant was a Sergeant with the Hialeah

  Police Department (“HPD”) assigned to Sector 5 of the city of Hialeah. In his position, the

  defendant worked in uniform and drove a marked HPD vehicle, and had keycard access to HPD

  Substation 5. Substation 5 was a facility that was not regularly staffed or open to the public.

  Instead, access was limited to HPD personnel and those escorted by HPD personnel for limited

  official HPD purposes. The charged incidents involving Victim 1 and Victim 3 both took place

  inside Substation 5, while the charged incident involving Victim 2 took place in the evening in a

  deserted industrial-type area in Hialeah. In all three of these incidents, the defendant was in

  uniform and armed when he unlawfully exercised his police authority over these young female

  victims for his own sexual gratification.

         On August 10, 2020, the government filed its Notice setting out the evidence it was seeking

  to offer under Rule 413 and/or Rule 404(b). The proffered evidence was described in detail in the

  Notice, and that detail is not repeated in this response. In summary, the evidence the government

  seeks to introduce pursuant to Rule 413 is evidence establishing the defendant’s other acts of

  sexual assault against Victim 4 and Victim 5. The evidence the government seeks to introduce


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  pursuant to Rule 404(b) concerns the 1) defendant’s sexual relationship with C.M., a student

  trainee at the police academy where the defendant was an instructor, and 2) his actions in May and

  June of 2015 in bringing a number of young women, after hours and on weekends, into a HPD

  substation (captured on surveillance video) that was not staffed or open to the public.

          On September 14, 2020, the defendant filed his Opposition. Based on review of the

  Opposition and consultation with counsel for the defendant, it appears that the defendant is

  conceding the substantive admissibility, pursuant to Rule 413, of the evidence of the defendant’s

  other acts of sexual assault of Victim 4 and Victim 5. As such, the Opposition only addresses and

  challenges the proposed Rule 404(b) evidence, claiming that it is not relevant for any proper

  purpose under Rule 404(b) and further arguing that even if relevant, the proffered evidence is

  unduly prejudicial and should be excluded under the Rule 403 balancing test that is part of the

  Rule 404(b) analysis.

          Finally, with little legal support the defendant asks “the Court to hold an evidentiary

  hearing prior to the admission of any of the evidence within the government’s [Notice] because

  Rule 404(b) requires proof that an act occurred by a preponderance of the evidence . . . and Rule

  413 requires proof that a sexual assault occurred under the preponderance of evidence standard.”

  DE 40 at 9. However, based on Rules 404(b) and 413 and the decisions interpreting these rules,

  there is no requirement or reason for the Court to hold the requested evidentiary hearing.

  Moreover, the two cases cited by the defendant to support his request actually support the

  government’s position that an evidentiary hearing is neither necessary nor appropriate.

                                          LAW AND ARGUMENT

     I.      Extrinsic Evidence Under Rule 404(b) in 18 U.S.C. § 242 Cases

          The three offenses in this case charge violations of a civil rights statute, 18 U.S.C. § 242,


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  which makes it unlawful for those acting under color of law to willfully deprive individuals of

  their constitutional or federally protected rights. To establish a violation of § 242, the government

  must prove the following elements: (1) the defendant acted under color of law; (2) the defendant

  deprived another person of a right protected or secured by the Constitution or the laws of the United

  States; and (3) the defendant acted willfully. 18 U.S.C. § 242. To establish Counts 1 and 2 of

  the Indictment, the government must also prove at least one additional element: (4) either (a) that

  the act included the use or threatened use of a dangerous weapon, or (b) that such acts included

  kidnapping. Id.

         To prove the willfulness element, the government must establish that the defendant acted

  with the specific intent “to deprive a person of a right which has been made specific either by the

  express terms of the Constitution or the laws of the United States or by decisions interpreting

  them.” Screws v. United States, 325 U.S. 91, 104 (1945). A “willful act” is one committed either

  “in open defiance or in reckless disregard of a constitutional requirement which has been made

  specific and definite,” although the defendant need not be aware of the specific constitutional

  provision or law his conduct violates. Id. at 105-6. The “presence of a bad purpose or evil intent”

  by itself is insufficient to satisfy the willfulness element. Id. at 103.

         As such, courts have emphasized the importance of extrinsic evidence in criminal civil

  rights cases charging § 242, particularly because the government has a high burden of proving

  specific intent. One court stated, after quoting the Screws standard:

         In cases involving police officers, the officer’s prior similar misconduct may be
         highly relevant to meeting that high burden of proving specific intent. The United
         States’ burden is a hard one to meet; if it cannot use evidence of prior incidents to
         meet this burden, it may go from difficult to impossible.

  United States v. Rodella, 101 F. Supp. 3d 1075, 1113–14 (D.N.M. 2015), aff’d, 804 F.3d 1317,

  1334 (10th Cir. 2015) (ruling that admission of prior-acts evidence from three separate victims

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  pursuant to Rule 404(b) did not necessitate a new trial in a § 242 case charging willful deprivation

  of the right not to be subjected to unreasonable seizure by a law enforcement officer).

         Similarly, in another § 242 case, the Fourth Circuit affirmed the district court’s admission

  of two incidents under Rule 404(b), both of which involved the defendant’s misuse of a police dog

  during encounters with civilians. United States v. Mohr, 318 F.3d 613, 618, 621 (4th Cir. 2003).

  As to the first incident, the court held that evidence of the defendant’s release of her police dog on

  the victim “was probative of willfulness because it suggested that . . . [defendant] used her police

  dog in a way that recklessly disregarded the risk that her actions would violate a citizen’s right to

  be free from the use of excessive force.” Id. at 619. The court specifically framed its ruling “[i]n

  light of the government’s heavy burden of proving, beyond a reasonable doubt,” that the defendant

  released her dog with the “particular purpose” of violating the victim’s right to be free from

  unreasonable force. Id. The court explicitly rejected the defendant’s argument that this extrinsic

  evidence was not “necessary” because “the government had ‘a mass of [other] evidence.’” Id.

  In fact, the court also affirmed the admission of a second extrinsic act, holding that the second

  incident was “necessary” and “not unfairly prejudicial.” Id. at 621. See also United States v.

  Krug, 2017 WL 907817, at *4 (W.D.N.Y. Mar. 8, 2017) (“The other-acts evidence in this case is

  very probative of the question whether the Defendant acted ‘willfully’ when he allegedly used

  excessive force. It is, of course, difficult to prove intent without circumstantial evidence. And

  it is even more difficult to prove a unique type of specific intent, such as that required by § 242,

  without circumstantial evidence.”) (citations omitted).

         In addition to Mohr and Rodella, various Circuit courts have affirmed the admission of

  extrinsic evidence under Rule 404(b) in § 242 cases. See United States v. Morris, 494 F. App’x

  574, 575 (6th Cir. 2012) (affirming admission of deputy sheriff’s prior sexual encounters of two


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  women per Rule 413 and 404(b) in § 242 case involving sexual abuse of two women during routine

  traffic stops that led to the rape of one woman and the strip search of another); United States v.

  Gonzalez, 533 F.3d 1057, 1064 (9th Cir. 2008) (affirming admission of two uncharged encounters

  of a sexual nature by police officer under Rule 404(b) in § 242 case); United States v. Simmons,

  470 F.3d 1115, 1125–26 (5th Cir. 2006) (affirming admission of Rule 404(b) evidence, defendant’s

  failure to log marijuana seized during traffic stop, as “integral to the events leading to [victim]’s

  sexual assault” and corroborating her testimony in § 242 sexual assault case).

      II.      The Improper Consensual Sexual Relationship Is Admissible Pursuant to
               Fed. R. Evid. 404(b)

            The defendant contests the admission of his consensual sexual relationship with C.M. on

  the grounds that it is not sufficiently relevant, and will confuse and unfairly prejudice the jury.

  Opposition (DE 40 at 7-9). Evidence of the C.M. relationship is relevant and admissible pursuant

  to Rule 404(b) because it establishes the defendant’s willfulness and modus operandi, and provides

  probative evidence that is not outweighed by unfair prejudice.1

               A. The Defendant’s Improper Relationship with Student Trainee C.M. Is
                  Relevant to Intent and Modus Operandi

            The evidence of the defendant’s improper sexual relationship with police academy trainee

  C.M. is admissible under Rule 404(b) to prove the defendant’s intent and modus operandi.

  Notably, this evidence is not criminal and it occurred after the charged conduct. It is well-settled

  in this Circuit that the principles governing other acts evidence are the same whether the conduct

  occurs before or after the offense charged, and regardless of whether the activity might give rise

  to criminal liability. United States v. Dickerson, 248 F.3d 1036, 1046 (11th Cir. 2001).


  1
    While the government believes that evidence of the defendant’s sexual assaults of Victim 4 and Victim 5
  also is admissible under Rule 404(b), the defendant did not contest its admissibility under Rule 413, and
  thus the government does not address it here.

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          The relationship with C.M. is probative of willfulness because it shows that the defendant

  was willing to disregard the rules and use his position of police authority and power to obtain

  sexual gratification from C.M., who was hoping to obtain a job as a police officer at HPD upon

  graduation. The defendant was C.M.’s instructor at the police academy as well as a recruiter for

  HPD. The defendant knew that the police academy did not permit instructors to have sexual

  relations with students, yet he initiated such a relationship with her in the very first week of classes.

  In that first week, he obtained her telephone number by offering to help her with the HPD

  application process and, days later, arranged an individual meeting with her in his car, ostensibly

  to discuss the application process. Instead, they had sexual intercourse. The defendant thereby

  willfully misused his police position and authority to secure sexual gratification from a young

  woman beholden to him. That is the same intent the government must prove to establish the

  charged conduct involving Victim 1, Victim 2, and Victim 3, and as a result, this evidence is

  relevant and highly probative. See Mohr, 318 F.3d at 619 (holding the other act evidence was

  probative of willfulness, particularly because the defendant disputed her intent at trial); Rodella,

  804 F.3d at 1334 (holding defendant’s involvement in other three incidents established defendant’s

  motive and intent); United States v. Hollingsworth, 2010 WL 3385349, at *5-6 (E.D. Ky. Aug. 25,

  2010) (admitting various extrinsic acts under Rule 404(b) as relevant to motive and intent).

  Notably, the defendant has put his intent at issue by pleading not guilty and his sexual relationship

  with C.M. is crucial evidence of his intent. See United States v. Hardy, 520 F. App’x 835, 840

  (11th Cir. 2013) (“examining the first prong of the Rule 404(b) analysis, [the defendant] rendered

  his intent a material issue by pleading not guilty.”).

          The prohibited sexual relationship he maintained with his student is probative of his intent,

  and the evolution of that relationship provides further support that he established his authority over


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  younger females in an effort to obtain sexual favors from them. When their relationship came to

  light, the defendant, using his authority and superior position, pressured and coerced C.M. to lie

  to academy instructors investigating their relationship, and to resign from the academy. He also

  told her that if she told somebody about their relationship or the pregnancy, he would make sure

  that she never became a police officer and that he would call his connections from every

  department and tell them not to hire her. These statements show that the defendant was invoking

  his official position to influence her not to cooperate with the police academy’s investigation,

  which is probative of his willingness to invoke his official authority for his private ends. See

  United States v. Dillon, 532 F.3d 379, 390 (5th Cir. 2008) (affirming admission of two other

  uncharged sexual assaults under Rule 413 in § 242 sexual assault case and noting that defendant’s

  statements that he was “a powerful person,” who knew “people in all places,” were invocations of

  his official position and probative of his willingness to invoke his authority for his private ends).

         In sum, the government is tasked with proving the high burden of willfulness, and evidence

  of the defendant’s sexual relationship with C.M. is probative of his intent. This evidence is also

  relevant to show the defendant’s modus operandi, as discussed in subsection C below.

             B. Probative Value Is Not Substantially Outweighed by Undue Prejudice

         The probative value of the proffered evidence must not be substantially outweighed by

  unfair prejudice, which requires assessing all the circumstances surrounding the extrinsic offense,

  including prosecutorial need, overall similarity between the extrinsic act and the charged offense,

  and temporal remoteness. United States v. Rojas, 145 F. App’x 647, 649-50 (11th Cir. 2005).

         The defendant argues that the relationship with C.M. is not similar to the charges that the

  he engaged in non-consensual sex while on police duty.           Opposition at 5.     The defendant

  overlooks the fact that he was employed in his capacity as a police officer at a police academy,


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  both as an instructor and a recruiter for HPD, and used his position of authority over trainee C.M.

  to obtain sexual gratification from her by promising to help her obtain employment at HPD in

  disregard of the academy rules against such relationships. Subsequently, when the relationship

  was discovered, the defendant then pressured C.M. to falsely deny it and remain quiet by

  threatening to ruin her career if she did not. The C.M. incident is sufficiently similar to the

  charged conduct for the purpose of permitting extrinsic evidence – it need not be identical in all

  aspects. See Dillon, 532 F.3d at 389 (“Similarity is relevant because the more similar the

  uncharged activity is to the charged offense, the more probative it is.”).2 However, the prior

  “sexual assault does not need to have been identical to [the charged victims’] to be admissible, but

  aspects of the assault must have sufficient probative value as to some element of the charged

  offense to not be substantially outweighed by its danger of unfair prejudice.” Id. (rejecting

  argument that the probative value of the prior incident was substantially outweighed by unfair

  prejudice because it was not sufficiently similar to the charged sexual assaults).

         Moreover, the similarity of the charged and the extrinsic offenses is not the only question

  to consider. There are circumstances where there may be little similarity between the charged

  offense and the extrinsic offense, yet the latter may be probative of an element of the former. See,

  e.g., United States v. Williams, 816 F.2d 1527, 1531 (11th Cir. 1987) (permitting evidence of

  defendant’s commission of two prior rapes in a prosecution for assault with a dangerous weapon,

  a specific intent crime, because it was probative of his intent). Here, however, the improper and

  coercive relationship the defendant engaged in with C.M. is similar to the charged offenses,

  occurred within two years of the incident with Victim 1, and, given the government’s burden of



  2
    The prior incident in Dillon was offered under Rule 413, which requires the same Rule 403 balancing
  test. Dillon, 532 F.3d at 389.

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   proof on the intent element, provides important probative evidence.

          Ultimately, the probative value of this evidence is not outweighed by the risk of unfair

   prejudice, especially in light of the more graphic descriptions of sexual acts the jury will have

   already heard from Victims 1-3. See Mohr, 318 F.3d at 619. Notably, in Mohr, the court held

   that the extrinsic act evidence was not unfairly prejudicial under Rule 403, even though the defense

   argued that it painted the defendant “as a ‘racist’ white police officer, releasing her ‘attack dog’

   on a ‘defenseless African–American child.’” Id. The court acknowledged that such evidence

   would severely damage defendant’s defense, but unfair prejudice “under Rule 403 does not mean

   the damage to a defendant’s case that results from the legitimate probative force of the evidence.”

   Id. See also Rodella, 804 F.3d at 1334 (“We therefore reject [defendant]’s argument that the

   other-act evidence required the jury to make propensity-based inferences in order to find the

   element of willfulness.”); United States v. Guidry, 456 F.3d 493, 504-05 (5th Cir. 2006) (affirming

   admission of uncharged sexual assaults committed by defendant police officer in § 242 sexual

   assault case pursuant to Rule 413 and Rule 403 balancing test); Dillon, 532 F.3d at 391 (“This

   evidence was undoubtably prejudicial to [defendant]’s case. ‘Relevant evidence is inherently

   prejudicial; but it is only unfair prejudice, substantially outweighing probative value, which

   permits exclusion of relevant matter under Rule 403.’”) (emphasis in original).

              C. The Cases Cited by Defendant Do Not Support Exclusion

          The cases cited by the defendant do not support the exclusion of the C.M. evidence. In

   Silkwood v. Kerr-McGee Corp., an employee of a nuclear power plant died and her estate sued,

   alleging that the employee was injured as a result of the defendants’ negligence in permitting

   plutonium to escape from their plant. 485 F. Supp. 566, 571 (W.D. Okla. 1979). The defendants

   attempted to besmirch her character by seeking to admit evidence of her sexual relationships, drug


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   use, and suicide attempts. Id. at 592-93. This apparent attempt at character assassination was

   devoid of any connection to the issues presented in the case, and clearly impermissible pursuant

   to Rule 404(b). Id. at 593. By contrast, the Rule 404(b) evidence here is offered for legitimate

   purposes, including to prove intent and modus operandi, and is similar to the charged conduct.

          The defendant also points to Williams v. City of Kansas City, 223 F.3d 749 (8th Cir. 2000),

   to argue that evidence of a prior consensual relationship should be excluded under Rule 404(b).

   Opposition at 6. In Williams, however, the plaintiff brought a hostile work environment claim

   and sought to introduce evidence that her supervisor had engaged in two consensual sexual

   relationships while on the job, one with a customer, and the other with a subordinate, nineteen

   years earlier. Id. at 751, 755. The Williams court excluded evidence of the first relationship

   because “[a] prior relationship with a customer is simply not probative of whether [the supervisor]

   would seek a relationship with a coworker,” and the second because it was too remote in time to

   be relevant. Id. at 755.

          Here, C.M. was not similarly situated to a customer, who might be at least in an equal, if

   not superior position of power, to the defendant in Williams. The defendant here began a sexual

   relationship with C.M. while she was the defendant’s student trainee in a hierarchical police

   academy setting, and was openly seeking employment from the defendant’s police department, for

   which he simultaneously functioned as a recruiter. This created a stark power imbalance the

   defendant exploited for his own sexual gratification, similar in kind to the power imbalances

   between the defendant and Victims 1-3.           Moreover, unlike the nearly two-decades-old

   relationship the Williams court excluded, the defendant began his relationship with C.M. just two

   years after he sexually accosted Victim 1. At that time, HPD removed the defendant from his

   position as a patrol sergeant and reassigned him to the police academy. No longer in a position


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   to cruise his sector for young women, he turned instead to using his position of authority to exploit

   his trainee, consistent with his modus operandi of disregarding proper procedure and abusing his

   power to obtain sexual gratification from young women under his influence and control, providing

   further proof of willfulness.

          Ross v. Baldwin Cnty Bd. of Educ., an unpublished district court opinion, is, like Williams,

   a hostile work environment claim. 2008 WL 2020470 (S.D. Ala. May 9, 2008). In Ross, the

   court excluded evidence of a supervisor’s consensual relationship with his secretary because it

   lacked sufficient probative value to any issue properly before the jury. Id. at *1. While the

   defendant’s initially consensual but unequal relationship with C.M. may at first glance resemble

   the consensual relationship between the supervisor and his secretary in Ross, the two are distinct

   because the defendant’s relationship with C.M. morphed from one involving an implicit power

   imbalance to one that became overtly coercive. Once others at the police academy learned of the

   relationship – placing the defendant at risk of professional repercussions – the defendant coerced

   C.M. into falsely retracting her acknowledgement of their relationship to the police academy

   administrators and then resigning from the academy. He did so by threatening to ensure she never

   worked as a police officer with any area police department, a threat she found credible due to his

   local law enforcement connections; by trying to buy her silence by offering her a job with his

   family business; and by promising to help her gain admission to another academy in the future.

   He also told her what to write in her resignation memorandum and then insisted on reviewing that

   memorandum before she submitted it to confirm she followed his directions.               Unlike the

   relationship in Ross, the defendant’s relationship with C.M. lost nearly every indicia of a

   consensual relationship by its final stages. Instead, he was exerting the power of his position to

   control C.M., just as he had used his position to abuse his previous victims, including by relying


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   on his position to pressure or frighten them into remaining silent.

             The defendant’s reliance on cases involving sexual harassment to argue that evidence of

   his relationship with C.M. should be excluded under Rule 403 is also misplaced. Opposition at 6

   (citing Williams, 223 F.3d at 755-56; Ross, 2008 WL 2020470 at *1; Berry v. Oswalt, 143 F.3d

   1127 (8th Cir. 1998)). In each of the cases the defendant cites, the conduct at issue was sexual

   harassment and the proffered Rule 404(b) evidence involved sexual acts, both consensual and

   unconsented. In Berry, for example, an inmate sued a correctional officer for sexual harassment.

   The district court permitted an inmate witness to testify for the purpose of impeaching the

   defendant’s testimony. The inmate’s testimony that the correctional officer had arranged an

   inmate-on-inmate rape was so unlike the acts alleged in the lawsuit, which included “verbal abuse,

   propositioning, [and] unnecessary and selective patdowns” that it was properly excluded under

   Rules 403 and 404(b).       143 F.3d at 1133. Evidence of consensual sexual relationships in

   Williams and Ross were excluded based on similar reasoning.           See Williams, 223 F.3d at 755;

   Ross, 2008 WL 2020470, at * 1. Unlike in Berry, Williams, and Ross, where the defendants were

   alleged of sexually harassing the plaintiffs, here the defendant is charged with actually sexually

   exploiting his victims – forcing one to remove her clothes below the waist while he touched his

   genitals; one to touch his genitals; and one to orally copulate. By comparison to the charged

   conduct and Rule 413 evidence, evidence of his relationship with C.M. will not unfairly prejudice

   the defendant and is therefore admissible under Rule 403.

      III.      Video Recordings of Other Women at Substation 5 Are Relevant To Show
                Opportunity and Plan, Modus Operandi, and To Rebut Likely Defenses

             The video recordings from the surveillance cameras at Substation 5, which depict the

   defendant bringing in nine other women after hours and on weekends, are relevant to show the

   defendant’s plan and opportunity, modus operandi, and to rebut his likely defenses.

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              A. Plan, Opportunity, and Modus Operandi

          There is remarkable similarity between the video recordings of Substation 5 and the

   charged conduct of Victim 1 and Victim 3, which makes the video recordings highly probative of

   the defendant’s opportunity, plan, and method of violating the civil rights of Victims 1-3 to obtain

   sexual gratification.   First, Substation 5 was the exact same location where the defendant

   committed the offenses charged in Count 1 of the Indictment (involving Victim 1) and Count 1 of

   the Superseding Information (involving Victim 3). Second, they span the same time period: the

   video recordings are from nine separate occasions from May 9, 2015, through June 13, 2015.

   Notably, the defendant’s conduct with respect to Victim 1 occurred on June 13, 2015, and his

   conduct involving Victim 3 occurred on May 31, 2015. Third, Substation 5 was not regularly

   staffed or open to the public during the charged offenses (May 31, 2015 and June 13, 2015) or

   during the dates relating to the other women. Fourth, in the videos, the defendant is in uniform,

   armed with his firearm, and working his shift as the sergeant on duty in patrol, just like he was

   when he encountered Victims 1-3. Fifth, the captured footage of the defendant’s conduct is

   identical to his interactions with Victims 1 and 3: the defendant escorted young females into

   Substation 5 and then into areas that are out of surveillance camera view, such as the roll call room

   where the sergeant’s offices are located or the bathroom. Sixth, the young women all left

   Substation 5, shortly after entering with the defendant, on their own accord; none were arrested.

   Lastly, there is no corresponding incident report for any of the other incidents depicted in the

   videos, just as there are no police records of the defendant’s interaction with Victim 1.

          These similarities are therefore relevant to show the defendant’s plan and opportunity to

   bring young women into a closed substation to commit the charged offenses relating to Victim 1

   and Victim 3. The videos show that he has unfettered access, privacy, and security at Substation


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   5, while in uniform and armed, and can therefore exert his authority under color of law to

   unreasonably search and seize Victims 1 and 3. See United States v. Morris, 494 F. App’x 574,

   586 (6th Cir. 2012) (affirming evidence of defendant’s encounter with another woman as similar

   act evidence under Rule 404(b): “the relevance of the [prior] incident is that . . . it shows that

   [defendant] had formulated a plan to isolate women for the purpose of using his position as a law

   enforcement officer to cause them to engage in sexual conduct to which they would not otherwise

   have consented”).

          Furthermore, the videos also show that his modus operandi is to meet young women, while

   he is on duty, and to bring them into Substation 5, a secluded, private area where he can escort the

   women to rooms with no cameras to avoid detection, meet with them there, and then release them

   without arresting them – all of which is consistent with the charged conduct of Victim 1. It is

   further his modus operandi to not follow HPD protocol in documenting any of these encounters,

   which is consistent with his decision not to document Victim 1’s incident at all. The distinct

   similarities of the video recordings to the charged conduct in this case weigh strongly in favor of

   admissibility. See United States v. Gonzalez, 533 F.3d 1057, 1064 (9th Cir. 2008). In Gonzalez,

   the defendant was on trial for assaulting three women in violation of § 242 and the prosecution

   introduced testimony under Rule 404(b) from two other women establishing modus operandi. Id.

   at 1063. In affirming, the Ninth Circuit held that modus operandi entailed “being a police officer

   armed with a badge and a gun” who consistently approached his victims in the same manner,

   would establish a conversation with the victims about their families or personal relationships,

   would command the victims to “sit, squat, stand, or undress,” and would then release them without

   arrest or citation. Id. at 1063-64 (“Beyond propensity, the evidence established a way of behavior

   that could be reasonably relied upon by a juror to convict [defendant] of the charged offenses.”).


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          In his opposition, the defendant cites to United States v. Lail, 846 F.2d 1299, 1301 (11th

   Cir. 1988), as a case that was reversed for improperly admitting extrinsic evidence. Opposition

   at 7. In Lail, there were few similarities between the charged and prior bank robberies. In both

   cases, the robber acted alone, without a disguise, and with a gun – which the court noted was

   common to many bank robberies. Id. The court noted the “major dissimilarities between the

   404(b) robbery and the charged robberies.” Id. In the 404(b) robbery, the robber used dynamite

   as his main weapon but in the charged crimes, the robber used a handgun as the main weapon; in

   the 404(b) robbery, the robber posed as a businessman and made two trips to the bank, but in the

   charged crimes, the robber did not pose as a businessman, made no pretense as to his motive, and

   made only one trip to the bank; and in the 404(b) robbery, the robber forced the bank manager to

   leave the bank with him, but in the charged crimes, the robber took no hostages. Id. By contrast,

   the video recordings here are strikingly similar to the charged conduct, as noted above.

          B. Rebuttal of Likely Defenses

          Moreover, these video recordings are relevant to rebut two likely defenses: 1) that the

   lack of documentation relating to Victim 1’s incident was mere forgetfulness or sloppy police

   work; and 2) that the victims consented to the sexual acts or that they never occurred.

          As for the first defense, the defendant will likely claim that he encountered Victim 1 as part

   of his official duties and legitimate police work, and for some reason failed to document this one

   incident. However, the video recordings of nine other instances where he escorted women into

   Substation 5 but consistently failed to document these specific encounters – yet documented other

   police activities on those days – show that he was intentionally not documenting these instances

   because they were not pursuant to his official duties and legitimate police work. The consistent

   lack of documentation shows that he did not want his encounters to be discovered precisely


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   because he knew that escorting women into the Substation alone without documenting it was

   against HPD policy – which is proof of willfulness, an essential element of § 242. Without the

   nine other occasions where the defendant failed to document his encounters with females he

   escorted into Substation 5, the government cannot effectively rebut this likely defense and show

   this compelling evidence of willfulness.

          With respect to the second defense, the evidence shows that the defendant escorts women

   into the station alone, when the station was closed, and with no corresponding documentation,

   which violates HPD training and polices designed to protect women from assault and HPD from

   complaints of assault, founded or unfounded. This evidence is relevant to counter a defense that

   (1) the women consented to the sexual conduct and/or (2) the sexual acts never occurred because

   the videos and corresponding lack of documentation demonstrate that the defendant routinely

   flouted rules designed to protect women and the department, which is probative of willfulness.

          The probative value of the video recordings is not substantially outweighed by unfair

   prejudice. There is nothing inflammatory or salacious on the videos, as they just show the

   defendant bringing women into Substation 5 and taking them out of view. Any prejudice arising

   from the introduction of the videos will be slight, particularly in light of the graphic and sensitive

   nature of the testimony that the victims in this case will provide. The jury will have already heard

   about the incidents involving Victims 1, 2, and 3 – conduct which involves asking Victim 1, a

   minor in his custody, to remove her shorts and underwear; exposing his bare penis to Victim 2,

   placing her hand on it, and kissing her; and inducing Victim 3 to perform oral sex on him.

          The government will not argue that the defendant sexually assaulted any of those other

   women depicted in the videos, unless new evidence emerges. See DE 37 at 30 n.18. Because

   the defendant did not document those encounters, law enforcement was unable to identify them


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   despite their investigative efforts, and so the defendant’s actions with them are not known. The

   video recordings will only be relevant to show the defendant’s plan, opportunity, and method of

   violating the civil rights of Victims 1-3 to obtain his own sexual gratification. Lastly, any

   prejudicial effect of such evidence can be minimized by a limiting instruction from the district

   court. See United States v. Jernigan, 341 F.3d 1273, 1282 (11th Cir. 2003) (“unfair prejudice that

   may have existed was mitigated by the district judge’s limiting instruction”).

            Another Rule 403 consideration is prosecutorial need. The government needs the Rule

   404(b) evidence because none of the actual sexual abuse committed by the defendant on the

   victims was witnessed by a third party or captured on Substation 5’s surveillance cameras. The

   surveillance cameras captured the lead-up to his abuse of Victim 1 and Victim 3, when he initially

   escorted them into the building, but he brought his victims out of camera view to commit the actual

   abuse.    In addition, each of these three victims certainly will be subject to heavy cross-

   examination and attacks on their credibility. The Rule 404(b) evidence will provide significant

   evidence relating to key aspects of their accounts by showing the defendant using the same method

   of abusing his police position and engaging in similar conduct with other young women during the

   same timeframe. As such, the probative value of this evidence is high.

      IV.      An Evidentiary Hearing Is Neither Necessary nor Required

            In his Opposition, the defendant requests that the Court hold an evidentiary hearing prior

   to admitting any evidence under Rules 404(b) and 413 because the rules “require[] proof that an

   act occurred by a preponderance of the evidence.” (DE: 40 at 9). The Supreme Court has

   previously ruled on this question, holding that a district court is not required to make a preliminary

   finding that the government’s evidence meets the preponderance of the evidence standard before

   it submits that evidence to the jury. Huddleston v. United States, 485 U.S. 681, 682 (1988). In


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   Huddleston, the petitioner argued that the jury “ought not to be exposed to similar act evidence

   until the trial court has heard the evidence and made a determination” regarding admissibility. Id.

   at 686-87. The Court rejected this argument as “inconsistent with the structure of the Rules of

   Evidence and with the plain language of Rule 404(b).” Id. at 687. The Court also found that

   such a requirement was likewise “inconsistent with the legislative history behind Rule 404(b).”

   Id. at 688. Instead, a court should admit any evidence introduced for a proper purpose, “subject

   only to general strictures limiting admissibility such as Rules 402 and 403.” Id. at 687-88. No

   “preliminary finding by the court is called for under Rule 104(a).” Id. at 689.

          Neither of the cases the defendant relies on support the conclusion that an evidentiary

   hearing is either necessary or helpful. In United States v. Dillon, the Fifth Circuit affirmed the

   admission of the testimony of two of the government’s four proffered Rule 413 witnesses. 532

   F.3d 379, 388 (5th Cir. 2008). The Dillon court did not hold that an evidentiary hearing was

   required prior to the admission of Rule 413 or 404(b) evidence, nor did it conduct such a hearing.

   Instead, it relied on “representations made by the United States in its submissions” and testimonial

   evidence presented by the United States at the defendant’s detention hearing3 to conclude that the

   testimony was relevant and admissible. United States v. Dillon, No. 2:05-cr-00314-LMA-SS,

   Order and Reasons, DE: 74 at 4 (E.D. La. Apr. 10, 2006). An evidentiary proffer, such as the

   detailed description the government provided in its Notice in this case, is all that is required

   because the court’s role is to determine relevance, not credibility. Huddleston, 485 U.S. at 690

   (“the trial court neither weighs credibility nor makes a finding that the Government has proved the

   [relevance] by a preponderance of the evidence.”); Dillon, 532 F.3d at 391 & n.9 (noting that Rule



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     There is no indication in the filings that the proposed Rule 413 witnesses themselves testified at the
   detention hearing.

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   104(b) does not require corroboration for the admission of Rule 413 evidence, but only requires

   that “a reasonable jury could find by a preponderance of the evidence that the asserted sexual

   assault” occurred).

          Likewise, the out-of-circuit, unpublished opinion in United States v. Boyajian does not

   hold that an evidentiary hearing is required to determine the admissibility of Rule 404(b). 2012

   WL 4094977 (C.D. Cal. 2012).          In Boyajian, the defendant argued that evidence of the

   defendant’s prior state convictions for sexual contact with two sixteen-year-old victims was

   inadmissible under Rule 413 because it was consensual in nature. Id. at *1. The court ruled that,

   while a hearing was needed on the limited question of whether the defendant’s prior conviction

   qualified under Rule 413, the same evidence was relevant and admissible under Rule 404(b)

   without resort to an evidentiary hearing because it was “highly probative of the defendant’s modus

   operandi and intent.” Id. at **7 & 9; see also United States v. Bowe, 221 F.3d 1183, 1192 (11th

   Cir. 2000) (“The prosecution can introduce evidence of a defendant’s otherwise admissible acts if

   the jury could find by a preponderance of the evidence that the acts did in fact occur.”) (citing

   Huddleston).    As in Boyajian, the proffered Rule 413 and 404(b) evidence is relevant and

   admissible here without any need for an evidentiary hearing, and no hearing is required under the

   Federal Rules of Evidence or the caselaw.

                                                CONCLUSION

          The United States requests that the government be permitted to present the evidence

   described in its Notice, pursuant to Rules 413 and 404(b), as it is relevant and admissible. Further,

   this Court should deny the defendant’s request for an evidentiary hearing, as a hearing is neither

   necessary nor helpful to determining the admissibility and relevance of the proffered evidence.

                                                         Respectfully submitted,


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